ble

S44 (Rev. 02/19}

The JS 44 civil cover sheet and the information contained herein neither replace nor supp
provided by local rules of court. This form, approved by the Judicial Conference of the

419-cv-05546-NIQA Document 1
CIVIL COVER SHEET

ement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required fggth legkgof,

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

Filed 11/25/19

Page 1 of 37

IF -N- S546

th

‘

I. (a) PLAINTIFES
Primerica Life Insurance Company

(b) County of Residence of First Listed Plaintiff Gwinnett County, GA
(EXCEPT IN US. PLAINTIFF CAJES)

Sean P. Mahoney, Esquire, White and Williams .
Suite 1650, Philadelphia, PA {gto 215-864-6342

DEFENDANTS

NOTE:

Attorneys (if Knows)

Dolores Ford Coleman, et ai.

County of Residence of First Listed Defendant
(IN US. PLAINTIFF CASRS ONLY)

IN LAND CONDEMNATION CASES,
THE TRACT OF LAND INVOLVED,

se of the

e

amden County, NJ

E THE LOCATION OF

O11 U.S. Government

Plaintiff (AS, Government Not a Party)

(3 2 U.S. Government
Defendant

CB 4/ Diversity
(indicate Citizenship of Parties in Hen: HD

(For Diversity Cases Ouily)

ILE, CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “X" a7 One Box for Plaintiff

aad One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State oj © 1 Incorporated or Principal Place O4 4
of Business In This State
Citizen of Another State 12 © 2 Incorporated ad Principal Place Os a5
of Business In Another State
Citizen or Subject of a oO3 O 3. Foreign Nation O6 6

Foreign Country

‘ty, NATURE OF SUIT

(Place an "X" i One Box Only)

Click here for: Nature of Suit Code Descriptions.

(Ne TCONTHACT nn Stee Ee ORTS U2 SLES =] PORFEITURE/PENALLY..]-- BANKRUPTCY. OTHER STATUTES 27°
Insnrance PERSONAL INJURY PERSONAL INJURY =|) 625 Drug Related Seizure G 422 Appeal 28 USC 158 CO 375 False Claims Act
C) #2) Marine 9 310 Airplane OF 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal © 376 Qui Tam (31 USC

3) Miller Act 0 315 Airplane Product Product Liability 6 690 Other 28 USC 157
1 Ef0 Negotiable instrument Liability CO 367 Heaith Care/
0 J50 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical “3 PROPERTY: RIGHTS 2:
& Enforcement of Judgment Slander Personal Injury G 820 Copyrights
ESE Medicare Act G 330 Fedezal Employers’ Product Liability J 830 Patent
CO 152 Recovery of Defauited Liability 368 Asbestos Personal 435 Patent - Abbreviated
Student Loans CG 340 Marine injury Product New One Application
(Excludes Veterans) O 345 Marine Product Liability C1 840 Trademark _
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY |: “LABOR SOCIAL SECURITY:
of Veteran's Benefits £1 350 Moter Vehicle C} 370 Other Frand 0 710 Fair Labor Standards CF 86% HEA (13956)
CF 160 Stockholders’ Suits 0 355 Motor Vehicle G 371 Truth in Lending Act J 862 Black Lung (923)
C} 190 Other Contract Product Liability 7 380 Other Personal 0 720 Labor/Management 7 863 DEWC/DIWW (405(g))
195 Contract Product Liability [CF 360 Other Personal Property Damage Relations CF 864 SSID Title XVE
CF 196 Franchise Injury G 385 Property Damage 0 740 Railway Labor Act CG 965 RS? (495(2))
0) 362 Personal Injury - Product Liability O 751 Family and Medicat
Medicat Malpractice _ Leave Act
LS]! REAL PROPERPV) 220) 2 CIVIL RIGHTS «2: PRISONER PETITIONS =|() 790 Other Labor Litigation “SEFEDERAL TAX SUITS:
OD 210 Land Condemnation 1 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement OF 870 Taxes (U.S. Plaimiff
O 226 Foreclosure 01 441 Voting OF 463 Alien Detainee Income Security Act or Defendant)
0 230 Rent Lease & Ejectment 0 442 Employment () 510 Motions to Vacate G 871 ERS—Third Party
©) 249 Torts to Land CO 443 Housing/ Sentence 26 USC 7699

C) 245 Tort Preduct Liability Accommodations D 530 General

C) 290 All Other Real Property © 445 Amer, w/Disabilities -] 0 535 Death Penalty

el IMMIGRATION ©

3729(a))

1) 400 State Reapportionment

O 410 Antitrast

© 430 Banks and Banking

G 450 Commerce

G 460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

CJ 480 Consumer Credit

1 485 Telephone Conswner
Protection Act

0 490 Cable/Sat TV

OF 850 Securities/Commoadities!
Exchange

© 899 Other Statutory Actions

O 89] Agricultural Acts

G 893 Environmental Matters

G 895 Freedom of Information
Act

F896 Arbitration

OG 899 Administrative Procedure
ActReview or Appeal of
Agency Decision

©) 462 Naturalization Application

© 555 Prison Condition

O 560 Civil Detainee -
Conditions of
Confinement

CT 448 Education

Employment Other: 7 950 Constitutionality of
0 446 Aner, w/Disabilities - | 540 Mandamus & Other [0 465 Other tmnigration State Statutes
Other 0 550 Civil Rights Actions

VY. ORIGIN (Pace an “X" in One Box Ont)

Mio iginal C12 Removed from {} 3. Remanded from 4 Reinstatedor O S Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De sof eife jurisdictional unites diversity):
VI1/ CAUSE OF ACTIO 28 U.S.C, 1338 \
1 A N Brief description of cause:
interpleader ao
1]. REQUESTED IN (J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded igéomplaintaA
COMPLAINT; UNDER RULE 23, F.R.Cv.P. JURY DEMAND: © Yee XINo
VIL RELATED CASE(S)
IF ANY (See instructions):
JUDGE 4 oo DOCIBT NUMBER
DATE SIGNATURE OF ATTORNEY OF R te ASM
November 25, 2019 - Lf
FOR OFFICE USE ONLY j [
RECEIPT # AMOUNT APPLYING IFP JUDGE (od JUDGE
Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 2 of 37, -

UNITED STATES DISTRICT COURT 9 t 5 4 @
as

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
{to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

» ee of bei 1 Primerica Parkway, Duluth, GA 20099

Address of Defendant, 4001 Germantown Avenue, Philadelphia, PA 19140

Philadelphia, PA

Place of Accident, Incident or Transaction:

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second ar successive habeas corpus, social security appeal, or pro se civil rights Yes [ No
case filed by the same individual?

I certify that, to my knowledge, the within case C2 isf/ [#] iy not mee cascf#iow pending or within one year previously terminated action in

this court except as noted above.
var. 11/26/2019 yap ilfehou 90313

“ Abiorney-at-Law / Pro Se Plaintiff { Attorney LD. # (if applicable)

\

CIVIL: (Place a ¥ in one category only)

A, Federal Question Cases: B, Diversitp Jurisdiction Cases:
[} 1, Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
Cl 2. FELA |] 2. Airplane Personal Injury
C] 3. Jones Act-Personal Injury |] 3. Assault, Defamation
[] 4. Antitrust [} 4. Marine Personal Injury
H 5. Patent [| 5. Motor Vehicte Personal Injury
6. Labor-Management Relations [} 6. Other Personal Injury (Please specify):
CL] 7. Civil Rights [} 7. Products Liability
8. Habeas Corpus [| 8. Products Liability - Asbestos
Securities Act(s) Cases [} 6% «©All other Diversity Cases
0. Social Security Review Cases (Please specify):
Ii. All other Federal Question Cases
(Please specify): 28 USC 4335 - Interpleader

pl

q| a

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case fram eligibility for arbitration.)

, sean P. Mahoney

, counsel of record or pro se plaintiff, do hereby certify:

Ty Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
1 exceed the sum of $150,000.00 exclusive of interest and costs: NOY 25
vy’ |} Relief other than monetary damages is sought. 2018,

san 11/25/2019 oan, Maher 90313

A ttorney-at-Lavw / Pro Se Plaintiff Attorney 1D. i# (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38,

Civ, 609 (5/2018)

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 3 of 37

eA,

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Primerica Life Insurance Company: CIVIL ACTION

¥,

Dolores Ford Coleman, et al.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in ail civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACES:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. (3)

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. {( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. { )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court, (See reverse side of this form for a detailed explanation of special

management cases.) ( )
(£) Standard Management — Cases that do not fall into any one of the other tracks. (%
91/25/2019 Sean P, Mahoney Primerica Life Insurance Company
Date Attorney-at-law Attorney for
215-864-6342 215-789-7577 mahoneys@whiteandwiliiams.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 4 of 37
\

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CIVIL ACTION
PRIMERICA LIFE INSURANCE COMPANY,
Plaintiff,
Vv, : NO.
DOLORES FORD COLEMAN, : 19 5 5 4 6

FORD MEMORIAL TEMPLE, INC.,

NEXT GENERATION FELLOWSHIP
MINISTRIES, INC.,

TURAY MEMORIAL FUNERAL CHAPEL, INC,,
SYREETA LAWRENCE,

DREW SMITH,

SHANELLE FORD,

ANDREW J. FORD Ii

BRITNEY FORD, and

NORTH CAROLINA MUTUAL FINANCIAL,
LLC,

Defendants.

INTERPLEADER COMPLAINT

Plaintiff Primerica Life Insurance Company (“Primerica Life”), by its attorneys, White and
Williams LLP, respectfully files this Interpleader Complaint against Defendants, Dolores Ford
Coleman, Ford Memorial Temple, Inc., Next Generation Fellowship Ministries, Inc., Turay
Memorial Funeral Chapel, Inc., Syreeta Lawrence, Drew Smith, Shanelle Ford, Andrew J. Ford
Ill, Britney Ford and North Carolina Mutual Financial, LLC (collectively, “Defendants”), and in
support hereof, alleges the following:

PARTIES

1, Primerica Life is a Tennessee corporation with its principal place of business

located at 1 Primerica Parkway, Duluth, Georgia 30099. Primerica Life is therefore a citizen of

Tennessee and Georgia for purposes of 28 U.S.C, § 1332.

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 5 of 37

2. Dolores Ford Coleman is an adult individual who resides in New Jersey and is
therefore a citizen of New Jersey for purposes of 28 U.S.C. §§ 1332 and 1335,

3, Ford Memorial Temple, Inc. is a Pennsylvania corporation with its principal place
of business located at 4031 Germantown Avenue, Philadelphia, Pennsylvania. Ford Memorial
Temple, Inc. is therefore a citizen of Pennsylvania for purposes of 28 U.S.C. §§ 1332 and 1335.

A, Next Generation Fellowship Ministries, Inc. is a Pennsylvania corporation with its
principal place of business located at 4031 Germantown Avenue, Philadelphia, Pennsylvania.
Next Generation Fellowship Ministries, Inc. is therefore a citizen of Pennsylvania for purposes of
28 U.S.C. §§ 1332 and 1335.

5. Turay Memorial Funeral Chapel, Inc. is a Pennsylvania corporation with its
principal place of business located at 2534 North 22d Street, Philadelphia, Pennsylvania. Turay
Memorial Funeral Chapel, Inc. is therefore a citizen of Pennsylvania for purposes of 28 U.S.C.
§§ 1332 and 1335.

6, Syreeta Lawrence is an adult individual who resides in Philadelphia, Pennsylvania
and is therefore a citizen of Pennsylvania for purposes of 28 U.S.C. §§ 1332 and 1335.

7. Drew Smith is a minor individual who resides in Bear, Delaware and is therefore a
citizen of Delaware for purposes of 28 U.S.C. §§ 1332 and 1335.

8. Shanelle Ford is an adult individual who resides in Norristown, Pennsylvania and
is therefore a citizen of Pennsylvania for purposes of 28 U.S.C. §§ 1332 and 1335.

9. Andrew J, Ford HI is an adult individual who resides in Elkins Park, Pennsylvania
and is therefore a citizen of Pennsylvania for purposes of 28 U.S.C. §§ 1332 and 1335.

10. Britney Ford is an adult individual who resides in Bear, Delaware and is therefore

a citizen of Delaware for purposes of 28 U.S.C. §§ 1332 and 1335.

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 6 of 37

11, North Carolina Mutual Financial, LLC is a North Carolina limited liability
company whose members reside in North Carolina. North Carolina Mutual Financial, LLC is
therefore a citizen of North Carolina for purposes of 28 U.S.C. §§ 1332 and 1335.

JURISDICTION

12. The Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1335
because (a) the money or property in question is worth in excess of $500; (b) there are two or more
adverse claimants of diverse citizenship; and (c) Primerica Life seeks to deposit the money or
property into the Registry of the Court. Phx. Ins. Co. v. Small, 307 F.R.D, 426, 432 (E.D. Pa.
2015) (citing 28 U.S.C. § 1335).

13. The money or property in question is worth $500 or more because the insurance
benefit under the Primerica Life insurance policy at issue is $300,000.00.

14, There are at least two adverse claimants of diverse citizenship pursuant to 28 U.S.C.
§ 1335 because Dolores Ford Coleman is a citizen of New Jersey and Ford Memorial Temple, Inc.
is a citizen of Pennsylvania.

VENUE

15. Venue for this action is proper in the Eastern District of Pennsylvania pursuant to
28 U.S.C. § 1391 because a substantial part of the events giving rise to the action occurred in the
Eastern District of Pennsylvania.

BACKGROUND

16. On or about July 27, 1999, Andrew J. Ford, Jr. (the “Insured”) submitted an
Application For Life Insurance to Primerica Life Insurance Company (“Primerica Life”) seeking

to insure his life in the amount of $300,000.00 (the “Application”). A true and correct copy of the

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 7 of 37

Application, which has been redacted to prevent the disclosure of personally-identifying
information, is attached hereto as Exhibit “A.”

17. Dolores Ford Coleman, who is the Insured’s sister, was designated in the
Application as the principal beneficiary of the insurance on his life, as indicated in Section 6 on
the second page of the Application.

18. The Insured did not designate any contingent beneficiary in the Application.

19. In response to the Application, Primerica Life issued life insurance policy number
0432007528 to the Insured (the “Policy”).

20.  Onor about July 18, 2019, the Insured submitted to Primerica Life a Multi-Purpose
Change Form by which he sought to change the principal beneficiary of the insurance on his life

from Dolores Ford Coleman to the following, as set forth below:

“Ford Memorial Temple” $215,000
“Next Generation Fellowship” $10,000
“Turay Funeral Home” $50,000
Syreeta Lawrence $5,000
Drew Smith $5,000
Shanelle Ford $5,000
Andrew J. Ford III $5,000
Britney Ford $5,000

A true and correct copy of this Multi-Purpose Change Form, which has been redacted to
prevent the disclosure of personally-identifying information, is attached hereto as Exhibit “B.”

21. The July 18, 2019 Multi-Purpose Change Form did not name any contingent
beneficiaries to the coverage provided by the Policy.

22. Primerica Life received the Multi-Purpose Change Form on July 22, 2019.

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 8 of 37

23, By letter to the Insured dated July 22, 2019, Primerica Life confirmed that, effective
July 18, 2019, each of the persons and organizations identified in paragraph 20 above was a
principal beneficiary of the coverage insuring Andrew J. Ford, Jr.’s life provided by the Policy
according to the amounts set forth in the table in paragraph 20 above, and that no contingent
beneficiaries of that coverage had been designated. A true and correct copy of Primerica Life’s
July 22, 2019 letter is attached hereto as Exhibit “C”.

24, On July 19, 2019, the Insured died in New Jersey.

25. The insurance benefit payable under the Policy at the time of, and as a result of, the
Insured’s death was $300,000.00 (the “Benefit”).

26. On or about July 29, 2019, Primerica Life received documents from Defendant
North Carolina Mutual Financial, LLC (“NC Mutual”) purportedly evidencing an assignment of
$45,000 of the Benefit to NC Mutual (“the Assignment”). A true and correct copy of these
documents, which have been redacted to prevent the disclosure of personally-identifying
information, are attached hereto as Exhibit “D.”

27. On or about August 15, 2019, Defendant Turay Memorial Funeral Chapel, Inc.
submitted a claim form to Primerica Life asserting a claim for the Benefit. A true and correct copy
of this claim form, which has been redacted to prevent the disclosure of personally-identifying
information, is attached hereto as Exhibit “E”.

28. Onor about August 25, 2019, Defendant Dolores Ford Coleman also submitted a
claim form to Primerica Life asserting a claim for the Benefit. A true and correct copy of this
claim form, which has been redacted to prevent the disclosure of personally-identifying

information, is attached hereto as Exhibit “F”.

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 9 of 37

29, On or about August 28, 2019, Defendant Ford Memorial Temple, Inc. also
submitted a claim form to Primerica Life asserting a claim for the Benefit, A true and correct copy
of this claim form, which has been redacted to prevent the disclosure of personally-identifying
information, is attached hereto as Exhibit “G”.

30. Onorabout September 12, 2019, Defendant Syreeta Lawrence sent correspondence
to Primerica Life in which she requested, purportedly on behalf of herself and on behalf of
Defendants Shanelle Ford, Andrew J. Ford III, Britney Ford and Drew Smith, that any claims to
the Benefit they may have be “withdrawn,” and that Defendant Dolores Ford Coleman “be
reinstated as the sole beneficiary” of the Benefit, “as originally intended.” A true and correct copy
of Defendant Syreeta Lawrence’s September 12, 2019 correspondence to Primerica Life is
attached hereto as Exhibit “H”.

31. Defendant NC Mutual has also sought $45,000 of the Benefit from Primerica Life
pursuant to the Assignment.

COUNT ONE — INTERPLEADER

32. Pursuant to the terms and conditions of the Policy, as a result of the death of the
Insured, Primerica Life is obligated to pay the Benefit to the primary beneficiary(ies) of the Policy,
if any existed at the time of the Insured’s death, or to the contingent beneficiary(ies) of the Policy,
if any existed at the time of the Insured’s death, or to the Estate if there were no such
beneficiary(ies) at the time of the Insured’s death.

33. There are competing claims and interests with respect to the Benefit, as among
Dolores Ford Coleman on the one hand and the remaining Defendants on the other hand.

34. There are substantial questions of law and/or fact as to whether Dolores Ford

Coleman or one or more of the other Defendants should receive part or al] of the Benefit.

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 10 of 37

35. The competing claims and interests are adverse to and conflict with each other as
well as with Primerica Life’s obligations under the Policy with respect to the payment of the
Benefit.

36. The conflicting claims and/or interests identified above subject Primerica Life to
potential double or multiple liability, even though Primerica Life has, at all relevant times, acted
reasonably, fairly, and in good faith toward Defendants and their representatives. See Phx. Ins.
Co. v. Small, 307 F.R.D. 426, 434 (E.D. Pa. 2015) (citing Francis I du Pont & Co. v. Sheen, 324
F.2d 3, 4 (3d Cir, 1963) (“{T]he very purpose of interpleader is to relieve an obligor from the
vexation of multiple claims in connection with a liability admittedly owed.”).

37. Primerica Life bears no responsibility for and is blameless with respect to the
existence of any dispute between or among Defendants.

38. Primerica Life has no interest in retaining the Benefit, as it is a mere stakeholder of
the property until the Court determines who among Defendants is entitled to receive part or all of
the Benefit.

39. Primerica Life presently has custody of the Benefit and is prepared to pay the full
amount of it, plus applicable interest, into the Registry of the Court to abide the judgment of the
Court and will forthwith submit an application to the Court authorizing it to do so.

WHEREFORE, Primerica Life respectfully requests that the Court enter an Order
granting it equitable interpleader relief as follows:

{a} That Primerica Life be authorized to deposit the amount of the Benefit
($300,000), plus accrued interest to the date of deposit, into the registry of
the Court to be held until such time as the Court adjudicates the claims inter

se of each of Defendants;

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 11 of 37

(b)

(c)

(d)

(c)

(f)

That Primerica Life be released from any and all further responsibility,
authority, control, or other duty in connection with the Policy or the Benefit
payable thereunder;

That, upon Primerica Life’s deposit of the Benefit with the Court, Primerica
Life be released and discharged from any and all Hability whatsoever to
Defendants, and to their respective heirs, parents, affiliates, subsidiaries,
officers, directors, shareholders, agents, employees (past, present, actual,
and ostensible), successors, attorneys, representatives and assigns, and any
persons of entities subrogated to rights or having any rights of
representation through them or any one or more of them, and any other
person or entity, arising out of, pursuant to, or in any way connected with
the death of the Insured, the Policy or the Benefit;

That Defendants each be enjoined and restrained from asserting any
claim(s) or instituting any suit(s) against Primerica Life and/or its parents,
affiliates, subsidiaries, officers, directors, shareholders, agents, employees
(past, present, actual, and ostensible), successors, attorneys, representatives
and assigns regarding the Policy or the recovery of all or any part of the
Benefit;

That Primerica Life be awarded its attorneys’ fees and costs associated with
the institution and prosecution of this interpleader action;

That upon deposit of the Benefit with the Court, Primerica Life shall be

dismissed from the within action; and

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 12 of 37

(g) That Primerica Life shall be awarded any other relief that the Court deems
just and appropriate.

WHITE AND WILLIAMS LLP

DATE: November 25, 2019 BY: Mean re Mfehneg
Stan P. Mahoney (PA 1290313)

1650 Market Street, Suite 1800

Philadelphia, PA 19103-7395

(215) 864-6342
mahoneys(@whiteandwilliams.com

Attorneys for Interpleader Plaintiff
Primerica Life Insurance Company

2375498 1y.1

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 13 of 37

EXHIBIT “A”

_ Case 2:19-cv-05546-NIOQA _— Document 1

2:19-C EG d 11/25/19 Page.1¢
PRIMERICA LIFE INSURANCE COMPANY oe SANIT
20 Sreterge Oba COA
Applcaton Fer Ue ‘aera
City, Stade, Zip Coda:
& Busnes 7 Gross
5 omens ee | ACA k Lo tt kl) «| Moniily Earnings: o
Employer Name: ah Time Employed: Yragu
inves Atwer: nA E
oh Sti Zp Cod ttt bedded A
“0 ~~
4. LIP INBURANCE PLAN @ AMOUNTS « ENTRAR APPROPRIATE DATA . “Zz
Primary inaured Primary Wider Spouse Rider is
C) Pretered Tobacco (Ui Tobaceo Ci Preferred Cl Non-Tolanece
Otemto yr ya 9,0) /Oitemie $y 9,9; ‘O'tem 10 Sega
Satrem 20 3, 22.) 0.0.0 4,0; 1 Tern 15 &, juli k 0,0 ;|O tem 15 $8, Lien}
TIp26Mod Sey 0,0, /O Tema $8, fbn bebo Dj O tem 20 $, pomednrednn—i
OT2law % jp Ld 0,0, /OTa Law $, fbf bred 9,0, CT2stom$ yy
Oy IO OI
ncreneling Benett Rider Child dar
JR wetver of Premium Os%  O10% Vidiac
Not Aundable Attar Age 56. Not Avniable Alter Aga 58 « (Matra 25 Uni
5. Repcacemenr
Has or wil any edeting Lie snauearice of Annus be raclaned changed (10. {.e., lepers, convert to a nondorellure option, radu
oF cthurades terminalia)? [i Ves Wt yeu, 7eplacamert WUST be Indlosted on Page 4 of ine appiltention, “iulating eurang
Tenount Wah Applicalion

4

si | il

8

3

PLA-60 PA

Case 2:19-cv-05546-NIQA —Document1 Filed 11/25/19 = Page 15 of 37

5 Banat CIA) «Tree Bene RGARW FOR ANY SPOUSE OF CRED ROGIE WALL Gel THE PRMIATY ReRLANED, UNLINES OT ACPWABE L5ITHD
GeneMCLARaLA TO SiUy 2 SGUALLY UNLESS OTHERWHEG GFECLFED We ree io an innivooamue Banern

She ue
I i i

Relationship to insured Soalel

a . - ithe Incivideral Gruner dies, who ‘a fo own Polloy? _ Rlaladionabip, ws inesicict

ST BLAS 80 Pa Pega 2

Page 16 of 37

Filed 11/25/19

Case 2:19-cv-05546-NIQA Document 1

eshte FHA Se | EE OTT |
Bea en |) |
et a ani i if seh vil 1 |
By HT SONG| GEREE
: me ites ii 3% SSH fi (pliant iif
3 HERG ad BL ape i ti ane i
Bie waa Ch {Witlitaba 1d
acai taba GSU!) debug) 24 |
a Ana s alia |)
eM MGR pe) atau 1
siete matte tH | WME, ty
eh He a Hela il
Leia bitte HR GSE |p Sp
pie aii il ab : 2 iz iie Eh iil i fl Asi |
ce Herne
Cee ii ja ‘il
Hae Hills (HCG J APHID oS

&
Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 17 of 37

EXHIBIT “B”

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 18 of 37

BankofAmerica-East4a 7/19/2019 11:35:17 AM PACE 2/003 888-294-5658

Primerica Life Insurance Company
Executive Office: i Primarlca Parkway

duluth, Georgla 30099-0001

1-800-257-4725 « Personal RVP Line 1800-737-5596
Acotss: your polley. at myprimerica.com.,

wo

@®) PRIMERICA

ee FORD SR. OF3200 7528
nT en Jp? AVE. Polley Number

LEW dress

ie bP ; “

GE SWIO

State ZP Code

Day Phone Number — Home ork” Other l--Eyening Phone.Number Home Work  — ofttier

NAME CHANGE — Use only wien current. goli¢yowner or insured(s) has legally changed his/her name.
Policy Queer Primary insured insured Spouse: Othér Insured Child

Prlor Name (First, Middle, Last}

New Name (First, Middle, Last}

Reason for Change (Marriage, Court/Ordes, ete.)

TRANSFER OWNERSHIP:

I, , the owner of Policy # issuad onthe Ite. of
Alama off Preseryt Gane

transfer ownerstip of sald Policy, along with all rights; title and interest in said Polley to:

New Owner €lrst, Middle, Last)

NEW OWNER MUST COMPLETE THE FOLLOWING

» . -

Bate of Birth Social Security Number Relationship to Insured

Day Phone Number Home Work Other Evening sane Nunbet "Home . Work Other

Address Wieden SS -

City ” State WP tote
OVER

PLA-83 REV 3 05.14

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 19 of 37

BankofAmerica—-East4a 7/19/2019 11:35:17 AM PAGE 3/003 888-294-5658

Policy * OY8B0075 BB
CHANGE BENEFICIARY

if a group is named as beneficiary, you must name each Individual of this group.
IF A MINOR (helow the age of 18) 1S USTED BELOW, PLEASE UNDERSTAND THAT A FINANCIAL GUARDIANSHIP FOR

| THE MINOR'S ESTATE WILL BEIREQUIRED BEFORE POLICY PROCEEDS CAN BE RELEASED.

PRINCIPAL BENEFICIARY Principal Beneficlaries In equal shares to the survivor(s), isiless otherwise directed under percentage/arit column,
Social Securiy Number ""T Farcentara or Anwuet

TOROS Ne nbe ee J bag l CRG OOO
Date af Bitl Relationship to dasurcd Stee ey jan an feex? five, Fil te, PPP SO VIO

. 3, [ta (First, Middle, Last ; Jaa Seemtny Mosnber y Timm
Luxe GONG ALtO] fEOWS vo YOO
Date al Birth CJ oe " ta tnsuted EINE NN on ar aa picer) MWe, Pile, SS Tight)

3, | Narre Fist Motte, lan - / / Social Security Number | AO ip
Tee (a. Sthnered ont, |
Date of Rath Relativigie to asaed ‘gta BPW ‘ay ai OOS, pil A, JH- Wise

4, | Notre iets Middle, Last Lp Y/ Soclak Security Number | Percentage ol Ament
WLS f- Vhieonon _ AS COCO

Date of Digh T feletoor nip to lnauted. Sureet Antdrass, City, State; ZIP

CONTINGENT BENEFICIARY Cohtirigent Beneliciaies in equal shares to the-survivor(s}, unless otherwise directed urder percentage/amt, column.

4, | Nate (Fist, Middle, Last) Socal Securiy tum ber Patcentege of Anéiitt
“Bake al Girth Ralstlonship to tostited Street Addiess, chy State, dIP

a, | Name ‘Fist, Middle. ta : — Sielal- Seaurity Number Farcentige ae ATL
Date of Mth : elation ijt to hisuredt: “Hhreet Address, City, Stote, 210

SPOUSE RIDER BENEFICIARY

4, | Naire (First, Middte,-Cast} " , | Soclal Security Nimbor Percentage or Arwaumt

Ome of Birth Refatlonship in Insured Stent Address, Cy, Stace, ZIP

SPOUSE CONTINGENT BENEFICIARY
1. Name (First, Micillo, Test) Social Security Ruvnber Perrestage oF Anoka

Date of Birth Rulatiqnihlp te dnsaaed Stieat Ayfdrass, Cli, State, ZF

OTHER MISCELLANEOUS CHANGES = Jorece S777? C8 G&OC0) 7WVE Petcare.
CNANCIIC FORD CHR OCO) PIVET Nitisiriot
UNabe te FREER IH (FE God) FIVE THANE
re Pye Poae CF aS CO) HIVE Thotigariet

@ ChS x) lf). Cee ee Ss Yelf}. TI

Skpaluee oF funian, Pulley Gave V Dale Signataee pf Primaay Irsstret aig
Ae) er
Ke gnalure of Mes Policy Chuner 1f Applicable tile * Jute ob Santee Insured ae,
RB A EIA oan mehg
Sknatiae of lereocalde seoesiclaty, ib any Dai Salient Ff Wie é be Agent & Solutien ¥ Date

PLA-83 REV 3 05.14

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 20 of 37

EXHIBIT “C”

FILE COPY FILE COPY

FILE COPY

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 21 of 37

July 22, 2019

For Client Services
14310 Mon. - Fri. 8am - 5pm

Andrew J Ford Jr Call 1-800-257-4725

4031-37 Germantown Ave
Philadelphia, PA 19140-3411

RE: Insured - Andrew J Ford Jr
Policy Number - 0432007528

Dear Andrew J Ford dr:

Thank you for making Primerica Life a leader in the insurance industry.
The following is a list of beneficiaries designated on policy number
0432007528. Any recent beneficiary changes requested by you are
reflected on this list.

PRINCIPAL BENEFICIARY EFFECTIVE DATE
FORD MEMORIAL TEMPLE $215K 07/18/2019
NEXT GENERATION FELLOWSHIP $10K 07/18/2019
TURAY FUNERAL HOME $50K 07/18/2019
SYRETTA LAWRENCE $5K 07/18/2019
*ADDITIONAL BENEFICIARIES ON FILE* 07/18/2019
CONTINGENT BENEFICIARY EFFECTIVE DATE

NONE LISTED

Should you have any questions, please call our Client Services Line.

Sincerely,
Valerie Uther

Valerie Usher

Client Services
** NOTICE **

If you have other policies/accounts with our company or any of our sub-
sidiary and affiliated companies and wish to make the same change,
please send separate notification to the appropriate company.

NOTE: If you intend to name a minor child as beneficiary, please under-
stand that court-appointed guardianship of the minor’s estate will be
required in order to process a claim. To avoid delays at the time of a
claim, which occur when a minor child is named as beneficiary, you may
wish to establish a Trust on behalf of the minor child. If a Trust

has been established, please submit a copy of the Trust so that your
file can be updated.

16114 04-20028 PNW 14316

10.95

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 22 of 37

EXHIBIT “D”

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 23 of 37

Jui 29 2019 41:04AM HP Fax page 1

Date: 7/29/2019

FAX; 470-564-7662
TO: Primerica Life Insurance Company
ATTN; CLAIMS DEPARTMENT

ADDRESS: ATTN: CLAIMS
1 Primerica Parkway,
Duluth, GA 30099

FROM:___.--;
North Carolina tual Financial
256-547-6998 PHONE

256-547-0623 FAX
P.O, BOX 1666
GADSDEN, AL 35902

PAGES BEING FAXED INCLUDING THIS COVER PAGE

PLEASE NOTE ASSIGNMENT

TIME IS OF THE ESSENCE

FUNERAL AND BURIAL ARRANGEMENTS PENDING!

DOCUMENTS INCLUDED WITH THIS FAX:

x VERIFICATION REQUEST FORM
x ASSIGNMENT/REASSIGNMENT TO NORTH CAROLINA MUTUAL F INANCIAL
CLAIM FORM

a

OTHER
Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 24 of 37

Jul 29 2019 1:04AM HP Fax page 2

Turay Memorial Funeral Chapel

CLAIM VERIFICATION 19070820

Date: 7/29/2019
To: Primerica Life Insurance Company — Life Insurance Death Claims 888-893-9858

Please verify the benefits, beneficiary and if there are any Joans or premiums due on the policy(ies) listed below,
We would appreciate your prompt verification of this information since funeral alrangerments are pending such
information, Please mark you records that an assignment to North Carolina Mutual Financial will be
forthcoming, Our fax number is 256-547-0623,

Insured’s Name: ANDREW J.FORD ...
Date of Death: 7/19/2019 Date of Birth?

Cause of Death: NATURAL

Policy Number: 0432007528"

Face Amount:

Assigned Amount; $ 45000.00

Beneficiary ;
Relationship:

Contingent Beneficiary;

Tate of Issue:

DOB on file:

Loans or Liens:

Interest on Loans;

Unpaid Premiums;

Net Amount Payable:

Is policy graded death benefit?

YES / NO

YES / NO

YES / NO

YES / NO

Is policy contestable?

YES / NO

YES / NO

YES / NO

YES / NO

Any reinstatements?

YES / NO

YES / NO

YES / NO

YES / NO

Has there been any other
verification calls or
assignments submitted?

YES / NO

YES / NO

YES / NO

YES / NO

Do you know of any
reason presently why this
policy will not pay?

Type of policy?

Can an assignment be
accepted and pay us the
assigned amount?

Primerica Life Ensurance Company CERTIFIES THAT THE ABOVE INFORMATION PROVIDED T
ACCURATELY REFLECTS THE TERMS AND CONDITIONS OF THE POL

Verified by (insurance)

NCM rep

O NORTH CAROLINA MUTUAL FINANCIAL
ICY COVERAGE IDENTIFIED ABOVE,

date

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 25 of 37

Jul 29 2019 41:04AM HP Fax page 3

WOS YB AAMAYECHY YSIA ‘UOEWIOYU] @JOLU JO JOAIag KB] JOFBAXEY [IH Aq PoAigoal SBM xe] SALE
() nemutual

TO GET STARTED: @ COMPLETE ‘FRU TRREVOUCABLE ASSIGNMENT and
6VERIFICATION OF CLALH AND LEMETED DURABLE POWER OF ATTORNEY
@BAX DOTH FORMS WHEN SIGNED TO (256) 547-0023 OR EMAIL info@ocmoinaltinencial com
Cait North Cavoligna Mutual Finenuelal te wake sure cteiur is recelved at 256054 71-6998,

VE ION OF CLAIM AND Li D BURAR WER OF ALTORNEY

FUNERAL HOME NAME:TH BY Memonal Chapel
INSURED NAME: Andrew J, Ford dr ~_

DATE GF BIRTH:

PLACE OF DEATHTA
CAUSE OF DEATH:
B, IT; TYPE OF INS CE COVERAGE? ROU POLICY?

INSURANCE BENEFIT
if GROUP INSURANCE, provide Eenvtoyer (Company Name), a Contact Name, & Phone Number,

einen

INSURANCE COMPANY NAME _ Primerica Life insurance Company
POLICY (055) # for this Claim: 0432007528
46,000 FUNERAL / CEMETERY BILI. ASSIGNMENT WITH CASH ADVANCES
Benoltriary t: Turay Funera fu!

Date of Birth

Your Social Seeurlly d: ~
arme) |Grandparen|_| AunvUncld_| Brother/Sister

Relationship to Deceascd|"” | Parent | SpouseyLite
cI Son/Daughtol” | Other.(Pxplain}! Funeral Home
Address (City/State/Zip} & Phone #, Email: 2924 North gand Street Phils PA {9432

Beneficiary 2+

Your Social Security 4: Date of Birth
glationship to Deceased] _| Pe | Spouse/Life Partner |Grendparan{_JAunvUnclq | Brother/Sister

Ai Sor/Daughtef_} Other (Exptain):

Address (City/State/Zip), Phone #, Email:

_ DIRECTIVE ond LIMITED DURABLE FOWER OF ATTORNEY

TO WHOM IT MAY CONCERN: Upon presemation of this dorm, or 4 phate static copy thervof whinh i& ad valld a¢ the original, you are authorited and
diractad to disclose inguranes Information and produce any desuments requirad to sectle any life insurance benefit an tha Insured ta North Caroline
Mutual Financial (*NCM*) | P.O, Box £656, Gadeden, AL 35902 (ONCM"), its sottgna ot Its reprezéntailves, Tha undersigned Beucticiary(isa)
hereby ivevocably auzharize(s) and diract/s) the iauer or sponcor of the Palley, Gard party administrator, record keeper or any business ot governmint
entity to deal direetly with NCM tp give any information that NCM requires repeding INSURED, Boneficlanes, and the insurance banahd by email,
fox, phone, and mall noluding confidential, perténal and medical information to ensure: proper Ailing for and payment of instance polley benefits,
resolving any daniel of Ingurance poliey benefite, and determine the validity of any reason(s) for any delay of payment of inaurance policy benefits,
d providing immedi ELP FOR CHE FAMILY TO SECURE TIMELY SHEANGEMENTS FOR INSURED'S FUNERAL or BURIAL,
In addition the undersigned Beneficlary(iea) Individeally haruby expradaly: (2) authorize dissloturs af Protocied Health Information of INSURED
pursuant ta HIPAA 456, BR. 1S4.S12 in NCM: (2) irrevocably appoint NCM as agent and Attorney-in~Fact with Full power of substitution, to
act for sush Bertoficiary(dba) with fall power and authority to (1) enforce collection of, compromise, settle and give receipt for apy benefits & proseeds
df the Insured 16 ihe extent #ecessary to folly cover insured’ finoral cost ar ageignment amount, (if) endorse chooks and bench fortis fn guth
Reneflotery's individual, estate reprisentalive, and trusiae capacity, Gil) receive and complate any claim or emall estate Corma connected with Ingured
(iv) recelyp plan docaments, inqurenca, medical smd confidential information concerning the Lunired & beneficiary, (¥) lusert correct employer,
Insurer, policy or slaba mumbery on any eselgarnents of Insured, (vi) add, redo, amend any assignments of the sbave Insured to contd! errs,
olirity ambiguities, and give further legal effect to the purpose and lotent hereof, (vil) ovdar death cartificates of INSURED, (Clif) Invert Reneflelury’s
simatuva on any clairn, daignment, small estate, ta%, funeral bill, complaint or beaafit forms as folly as Beveflclary could personally do, (ix)
file nvauils in Bonslicaryfies) name duc to negligence, bad faith or unpaid interect and attorney (ees ay @ result of paymant delay ordonial by [nsurer
or employer; (3) ratify and confirm all thal thelr attorney In fact may do or cause to be done by virtue of the authority and direction given
hereln, and (4) this power of attomey ls not affected by subsequent disability or incapsclky af any stydarcigned prindipal, The Beneficiaries hareby
eaxprasaly consent and agreo to perponaliy aubmi{ to the jurisdiction of all levels of any and gil Staly’and Pedsrat Courts lovated in Tarrant Caunty, the
agising and all Btlgation which oouuts as a reguls of any dispute regarding 'thisAirective or Limited Durable Power of Aniorney

S INSURES Ot OR ENTITY FROM ANY ANT ALL

f INSURANCE TO NCM & RELEASING

‘the sof.

a

i

(Beneficiary (ies) wha acknowledge

IN WITNHKSS WHEREOFP, | horennte set my : .

1. Anup narto of Sty Cent Comentoe NOTARY PUBLIC SIGNATURE & STAME
Howth Carofina rautwal Financfal, Px, BON 1666, Gaxklen, AL 25902 (256) 547-009B, 256-547-0623 ax, Infodincmutya/financial cont

WY 8L:95:8 6L0z/62/2 8Q = bre abeg = COZ LSzzoLz swoly

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 26 of 37

Jul 29 2019 41:04AM HP Fax page 4

WOO '/SWMY/-dAY UISiA ‘UOHRWIOJU) a10U! 10.4 TEMES xe} JoMEYMEY 145) Aq S9A|O00i SBAA XB] SUL

(> nemutual

IRREVOCABLE ASSIGNMENT (“lA”)
wsurep: Andrew J, Ford Jr

v INESS OR GOVERNMENT ENTITY (“ICBG":
Natrona Lie irerpahes ete Risen SC ENTELY -

g Q AN ITY, CLAIM PL #(8) (“Poltay”), 0432007528
FOR VALUE RECEIVED, the underalgned boing all of he persons or eniiles equitably, legally, ar through probate, entilled to recafva and
dispose of tha benefits, payable now or in the future, under the Polley (individually and collectively "Baneficiaries”), haraby drevacably
aasign, sell, convey and/or transfer ta i Chanel _{FR") and its assigns, up to and including
§ which [6 {6 be. paid from all the benefits, proceeds, premttunis} and interest connected with the above INSURED andar
desorbad Policy including any returr: of premiums. In addition, the Beneficiaries assign & dell: accrued statutory or contractuel interest fram
ihe date of death; unaamed premiums; ard alt etate and federal claims and cauees of action againal [OAG connected with the Policy or
Insured, including but not timited 10, a Danefit, fiduolary & non-berietit BRISA clalime to FH and Us aesigne, Beneficiaries rights under the Palloy
to the full extent assigned shall be aubrogated to FH and ite assigns. Tha Beneticlarias hereby irevocabty consent to, authorize, end direct
ICHG to make payments of the Poilcy benefits to PH and Ils aesigna. The considarallon for this 1A |g FH rendering funoral servicas or saslating
with the disposition of ramalng of INSURED, whith services have been spectfically ordared and acgepled by the undersigned, and tf
applicable, Inclusive of advancing additional monies to the undersigned for personal benefit. TIME!S OF THE BSSENCE. Beneffelaryiies)
horeb e bt rizé polis) ti or of the Policy, third party administrator, ragond Keapor or a
bus|iese or government entity te deal directly with FH, its aent and sasignes to dive any infeniation that they requira regarding
INSURED, Beneficiaries, and the Policy by email, fax, phone, and malt rctuding confidential, persons! and medial information to
ensure: proper filing for and paymant of Policy banekts, rayalying any denial of Polloy benefits. and determine the validity of an
reegonisy for any delay of payment of Folloy banofits, aid providing immadiats HELP FOR AM > SECURE TIME
ENTS INSURED" The Baneiclaries heredy expressly consent and agrad to porsenally submit to

the Jurieciiclon of ai lavels of any and all State and Federal Caurts located In Tarrant County, the State of Texas, arising oul of any and afl
Iilgaton whinh goaure ae a result of any dispute regarding ihis |A and any assignment thereof. If FH or ts assigne receive legs than the amaunt
assigned, the Benaficlaries must pay back such losses Immediately. In the event that any payment is made to FH of its eesigna for the Polcy
thal Is in excess of lhe aniount stated above, tha Beneflolaes agred FH and/or iis aégigne wilt take possession of the excess amount for itself
untd suoh dime ae Banefiglariag agree In wriiing to ite distribution, If after one year there fs no agreement in writing ta Its distripution; ihe
Beneficiarles agree excess funds baiong solely to FH and/or Its assigns. The Beneficiaries agree fo held in trust any pracaads recelved fran
the Polley that were aeaigned fo FH and/or lis assigns and retum such proceeds Immediately, tf the Polley is not delivered with this lA,
Beneficiaries reprosant ater a diligen¢ search the Polley is LOST. Beneficlarias agree a copy of this (A Is Intermed to ba Deatad as if it were
the orginal and fs Intended te be Used as an electronic signature pursuant to 15 USCS § 7007. Thd Beneficlaries affirn & altest the Insured s
dead. The Baneficterias affinn and attest that they ars of sound mind, 18 or older, understagd the meaning of this 4, and are anteting inte this
iA with bys Intanfe)be gindigg an them. Seneficiarles by their signature balow agran to p

Rod piovisigns ale detamnined invalid, ali ather covenants and provisip af Sanforssable, IN WITNESS

i. fl Foal; Puneret Hotta
bate-cighaTURE & RELATIONSHIP
RA 3

Es,

/}
Supzqts

Re VO AR AS Sf hi

FOR VALUE RECEIVED, the Orffersigned FH does hereby inevocably aselgn, convey, soll, and/or trans
("NGM") | P.O. Box 1866, Gadedan, AL 36902, Its successors and assigns, all of FH's right, power, tide and Intarest In, to and under the above
1A, and the Palioy, Including without limitation banefits, eubrogation rights and Gaueas ofactlon, and does hereby direct thet afl payments be mada
to NGM, heraby ratifying and approving anything that NCM may do by virtue of the auttoriy and fights given hersin. FH hereby Imevooably
appoints NCM and its representallves as its Agent & Aborney-tt-Fact to aot for if with full power to make collection of, compromiss, setiia and
raceipt for the proceeds of tha above Insured & Polley and authority to endarse chooks; order death certificates; and complete assignments, pre-
need or insurance calm forme as fully ac FH could de, with full power of substitution sad this power of atiomay Is not ateciad by subsequent
disability of Incapacity of the undersigned ineluding if undersigned subsequently ceases to do business, FH agrees this IRA [9 Intanded to be
treated as if tt ware fha orghal and to be used as an electronic signature pursuant te 16 YSCE § 7001. In addition, witheut limitalion, the
undersigned FH assigns to NCM the fight lo collect monies from any person(s) who is/are liable for INSURED’s funeral and/or cemetery
expenses. FH certifies that the (nformation [In the 1A ig agcurate & truthful. The FH agrees to hold ir trust any proogads recelved that ware
gesigned to NCM and return proceeds to NCM Immediately. Thia IRA le pon-resourse uniass Information in the 1A ia not accurate or nat
truthful, otheavise, FH must return monies recelved if NCM is not paid by ineurer, FH hereby expressly consents and agress lo personally
suomit to the jurisdiction of all levels of any and all State and Federal Courts located in Tarrant County, the State of Texas, arising out of any
and all itigation which occurs as a result of any dispute regarding this IRA and any assignment thereof. FH affinme & attests the Insured ia
dead, FH by thelr signature below agree to this IRA, All terns Used In this IRA shall have the meaning herein and tha above IA, IN WITNESS
WHEREOE WE HAVE HEREUNTO SET OUR HANDS AND SEALS THIS____ DAY OF. 20.

B

>is oir. Cs ota! Turay Memorial Chapel

FUNERAL HOME /GEME By AUTHORIZE SIG FUNERAL KROME or CEMETERY NAME
on dd j Yeoh, before me, Cala alas mmet te Tein, toe PB¥ ally appeared Tuer Funan tome (Bonoficlaryiles)
and nae mieer sellin be the person whose name and capacity Is subsorbed

agyitc set my hahd end offigtal seal.

ots NOTARY PUBLIC SIGNATURE § STAMP

(im Acaumad gma of Surely Capll Garperation,
North Caroling Mutusl Finanelal, P.O. Box 1666, Gadaden, Al, 36902 (250) 647-090, 256-847-0823 fen, Infogineniutvattinencial coon

WY 6L-G8:8 6LOz6e2 eed) = pry abeg © ang Lazzgiz oly
Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 27 of 37

EXHIBIT “E”

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 28 of 37

GO/15/2819 11:23AM O68 TURAY MFC PAGE 61

CLAIMANT INFORMATION

‘The information to this section must pertalh to thie Claimant (dhe boveficlary).
Please read carefully. Please print ortype and completo in full. This form mast be signed and notarized.

as

Clattwant's Bull Name: Turay Mamarial Chapel -Antoine Turay

Bate of on Soclal Security No, or Tay Idi

<Tadividual - Clalmant's Sozla} Security Number « Hstata Taxtd Number
+ Quardiin + Child's Social Security Nunther «Frisk Tax id Hiner

Petrnanent Address: 2534 North 22nd Street Phila, Pa 19132
(Waban that ote Apt ordullana . Hanot uroa RB Rae ae lneney of edebary} ‘

— THe nt Slate Bp Code
Malling Addrags: rrr
lifaiferantthan gbave)
ote ED toy
. i i‘
Hotne Phone Work Phone! ME = coll phone! i
“Araacels — phoaeNumber w “Atea Cod) PhonaNumbar "5s eect Coda Phone HareDar "

Plage select your method of payment by marking the appropriate box below!

E] Prinerica Estate Account pCheck [I Settlement Option # (Refer to the Chains instructions ond the policy}

Pioasa be sure to review the payment method information found in the Claim Instructions on page 1 and the “Terms and
Conditions" Of the Primerica Estate Accom Agreement on page 14, Youy signature below confirms acceptance oF
the Primerica Estate Account Agreement if chosen above.

eb

Onder the penalties of perjury, ] vartify that

4. The nuriber shown on this form is my correct taxpayer identification number; aud ay

4, Tin not subject ta bactaiy withholding because (a) Lam exempt from backup withbolding, ‘or (b) | have aot been notified
by the Internal Revenue Service (IRS} that | am subject to saekup withholding ag a reault of failure to repoxt interest or
dividends, or (c) that the IRS has notified me that | aim no longer stbjact to backup withholding: and

3. Tama 65. person (Inclucling a U.S, resident alten).

Certification Instructions, -~ You must cross out item 2 if you have beevt notified by the IRS that you ave currently subject to”
backup withholding because you have failed to report all interest and dividends on your tax return, .

Any person who knowingly and with intent to defraud any inauzance
coltipany or other peteon files an application for insurance oF
statement of slain containing any materially false information or
Gancaals for the purpose of misleading, information concerning my
fact material thergta commits a fraudylont inavrance act, which is a
crime and gubjepty sudh person to criminal and civil penalties.

!

. Signature of Notary Pubsiic ee * oe wet PA
PLA-880 a Le

TeHOR ON)

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 29 of 37

BG/15/2019 1:23AM ap TURAY MFC PAGE 82

PRIMERICA LIFE INSURANCE COMPANY

EXECUTIVE OFFICE: 1 Primertoa Paxwoy # Duluth, Gaotgia 20009-0001

TOR ASBLSTANCE
CALL TOLL-FREE

CLAIMANT'S STATEMENT | t-on-#e8-080

Please Attach q Certified Death Certificate

Please show all names the deceased was known by, including full name, maiden name, hyphenated
name, nickname, derivative form of first andlor middle name, or any atids,

' Deceased’s Name in Full Andrew J. Ford IT

peg

2, Policy Numbers 0432007528 _

3. Deceased’s Bource from which cans
Birth Date Birth Date Obtainad Fawily

Biih Kariiicels, Fully Qesarl, Uther Reeare

4, Redidenca of 13 Woodbury Dr Cherry Hill New Jéraey 08003
Deceased at Death, = is
Staal Addrass oly Stake
6. Date of Plave
Death O7n 192019 of Death __ Cooper Hospital —Canden-Newdersey
6. Cause Cy a %. Your relationship -
of Death = . to the Deceased Funeral Home
8, Eraployer . Deceagad's .
of Dacaasad Self Occupation Paster

9, If deceased hag ingurance with other companies, ligt nares of companies and amounts below:

“ Nunies of Companies Amounts
10. Marital Status of Dacaasad Widowed Spouse's Name
Childven of Deceased Syreeta Coleman Spouse's Addreus

Chanel Ford, Atidrew J, Ford ITt

Tha furniching of this form or tte acceptance by tha Company must not be conotrued as an admission of ony
tobility on the part of the Company, ner o watoer ofany ofthe conditions of tha insurance contract,

The Claimant Information on the reverse side mustbe filled out completely in order to avoid any delay.

PLA-886 1

TEGO) 0343

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 30 of 37

EXHIBIT “F”

Case 2:19-cv-05546-NIOA _ Document 1 Filed 11/25/19 Page. 31 of 37

PRIMERICA, LIFE INSURANCE COMPANY

EXECUTIVE OFFICE: 1 Primorlea Parkway ® Duluth, Georgia 30099-6001

FOR ASS| STANCE
CALL TOLL «FREE

CLAIMAN'T’S STATEMENT 1-800-809-9668

0432007528

Please Attach « Certified Death Certificate

Please show all names tre deceased was known by, including full name, maiden name, hyphenated
name, nickname, derivative farm of first and/or middle name, or any | fas,

1, Deceased’s Name in Full 4. AN it vu) James Sh.

2. Policy Numbers 460) Ava, 0 O Me Z 6

Source From which D vl
Birth Date Obtained kam (Ly OC

Dleth Cortifteste, {{' Aachrd, Weber Recgtd

° ooduv Drive. Chere ti [Ni oste3

4, Residence of ?
Deceased at Death Oo ,

_ Street Addrass City ll.
spuest (4 -2OIG Ba, Paupee ees hiversdy
' cheat iv
7. Your relationship
ee to the Deceased = tame Let) re arenes te

* oft wes dod (ernorian Te al hen pla Lie Beatin Sow

9, If deceased has insurance with other corpanies, list namas of companies and amounts bolow:

8, Deseagad’s
Birth Date

erry

Naines of Companics Amounts

Niky

10, Marital Status of Deceased Wid es Spouse's Name De weased
Dome Fit use’s Address ..

inelle to

Children of Decegs

eka fo ‘oul Laat S

The furnishing of this form or its aceapiance by the Company muat not be cortatrued as an admission of any
Hability on the part of the Company, nor a watver of any of the condittons of the insurance contract,

The Claimant Information on. the reverse side mest be filled owt completely in order to avoid any delay.

PLA-8801 1

800)) 04.14

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 32 of 37

CLAIMANT INFORMATION

She Information in this section must pertain to the Claimant (the beneficiary).
Please read carefully, Please print or type and complete in full, This form nust be signed and notarized,

Claimant's Full amet O LOVES Reet FOU) s

Date of Birth:

Social Security No, or Tax td: 5 uname
: Individual - Claimant's Soelal Securlty Number + Estate Tax ld Number

f) d h -Guarian - Child's Soctal Security Number “Trust Tax [dt Number
Permanent Address: LO Woc + Ut if { Je_
Ch, Street, and Apt or Sulta {| Bo deduce hth Box ap Tnevareeos quidresy} i x00

7 . Surto

City Zip Code

Mailing Address:
{if differant than above)

ert teense PT ttt ewree rat
Homie (|. Phon

Aria tods Phone Number

filp “d “ fairy,
eli Phone’

Arad Code Phone Number enn

Please select your method of payment by prarking the approprtate box below:

Check (| Settlement Option #

Please be sure to review the payment method information found In the Claim Instructions on page 1 and the “Terms and
Conditions" of the Primerica Estate Account Agreement on page 1A. Your signature belaw confirms acceptance of
the Primerica Estate Account Agreement if chosen above.

C1 Primerica Estate Account (Refey to the Claim Instructions and the policy)

Under the penalties of perjury, | certify that:

1, The number shown on this form is my correct taxpayer identification number; and

2. lam notsubject to backup withholding because (a) | am exempt from backup withholding, or (b) | have not been notified
by the Internal Revenue Service (IRS) that I am subjact Co backup withholding as a result of failure to report interest or
dividends, or (c} that the IRS has notified me that 1 am no longer subject to backup withholding; and

3, Jama U.S, person (including a U.S. resident allen).

Certification Instructions, - You must cross out item 2 If you have been notified by the IRS that you are currently subject to
backup withholding because you have failed to report all interest and dividends on your tax return,

“Any person who knowingly and with intent to defraud any insurance
company or other person files an application for insurance or
atatement of claim containing any materially false information or
conceals for the purpose of misleading, information concerning any
fact material thereto commits a fraudulent ingurance act, which is a
crime and subjects such person to criminal and civil penalties."

i certify that all answers hr and ug
Signature of Claimant X_/, L. 4 pt

(See'Imporbfat - on Baga 2, lat tnseructtons)

~ hibit Rett bist on i EPrephltneds

Subscribed and sworn to before me this . 2 6”. Day of Lea usd 9 cee rexnnoth Osa [Go :
5 Notary Public - State of New Jey 4

My Commission Expltes Mar 3}. i

Signature of Notary Public x Mbiye hel sere
a

PLA-B80]
BE012 06.11

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 33 of 37

EXHIBIT “G”

Case 2:19-cv-05546-NIQA. ... Document.1__Filed. 11/25/19 _Page 34 of 37

I PRIMERICA LIFE INSURANCE COMPANY
“EA BXECUTIVE OFFICE: 1 Primerica Parkway © Duluth, Georgla 30099-0001
FOR ASSISTANCE
. CALL TOLL-PAREE
CLAIMANT’S STATEMENT 1-988-893-0858
0432007528

. Please Attach a Certified Death Certificate

Please show all names the deceased was known by, including full name, maiden name, hyphenated
' name, nickname, derivative form of first and/or middle name, or any alias.

1. Deceased’s Name in Full thn ar Cte TJ. SOLO TR,

2, ‘Poi Numbers Y3 3, OO TH Zz. Ss

3 Deceased’s Source from which

Birth Certiticats, Family Record, Other Record

Bee neem 43 soca bery Lowel Cherrg bil WI

treet Address City . State tip

s pact LAV P//9 res, Comber, VST
C . . i i
6 i —_ ’ Pour re\ationship ES 4 /: OV ES

8. Employer FOLD Memonal Ténzole peessses's LasPr.

Occupation

% If deceased has insurance with other companies, ‘list names of companies and amounts below:
Names 0! 37007528 , Amounts

“ie “int ivy ee

10. Marital Status of Deceased Ld} Gower Spouse’s Name Tean ForL>

Children of Deceased Shanes(e PORL) Spouse’s Address
Qundrew TF Faris Il), SytetaLowreriee

‘ \
1 .

The furnishing of this form or its acceptance by the Company must not be construed as an admission of any
liability on the part of the Company, nor @ waiver of any of the conditions of the insurance contract.

’ r,t
’ V4 ira 4 -

The Claimant Information on the reverse side must be filled out completely 3 in order to avoid any dela,

~

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 35 of 37 |

CLAIMANT INFORMATION

The information In this section must pertain to the Claimant (the beneficiary).
Please read carefully, Please print or type and complete in full. This form must be signed and notarized.

Claimant's Full Name: FORD (PU INCRA Ake 7 Cripple

Date of Birth: Social Security No. or Taxid.s: |
_ Individual - Clatmant's Social Security Number + Bstate Tax Id Number
+ Guardian - Child's Social Security Number : Trust Tax Id Number

Permanent Address: L403 / , Qer. WYK? fo C2) 4h VE

{Nuenber, Screes, and Apk or fea nd, - Qo xat use a PO. Box or tn-cary-of address}

Philadephia. * FA ___—«f9 IFO

State zip Code

Mailing Address: SGr1e_ aS QLOV-L:

(if different than above)

City , we ‘ JipCode
. i i
Home Phone:( Work Phone iCall Phone: (~~ )“*_
AreaCode Phone Nuinber i “~ AreaCode Phone Number

Please select your method of payment by marking the appropriate box below:

{] Primerica Estate Account heck CF) Settlement Option # _ {Refer to the Claim Instructions and the policy) «

; . ¥
Please be sure to review the payment method information found in the Claim Instructions on page 1 and the "Terms and
Conditions” of the Primerica Estate Account Agreement on page 1A, Your signature below confirms acceptance of
the Primerica Estate Account Agreement if chosen above. .

Under the penalties of perjury, | certify that:

1, The number shown on this form is my correct taxpayer identification number; and

2. lamnotsubject to backup withholding because (a) | am exempt from backup withholding, or (b) I have not been notified
by the Internal Revenue Service (IRS) that | am subject to backup withholding as a result of failure Co report interest or
dividends, or (c) that the IRS has notified me that | am no longer subject to backup withhoiding; and

3. lama U.S, person (including a U.S, resident alien).

Certification Instructions,.-- You must cross out item 2 if you have been notified by the IRS that you are currently subject to
backup withholding because you have failed to report all interest and dividends on your tax return,

"Any person who “knowingly and with intent to defraud ahy insurance
company or other person files an application for insurance or
statement of claim containing any materially false information or
conceals for the purpose of misleading, information concerning any
fact material thereto commits a fraudulent insurance act, which is a
crime and subjects such person to criminal and civil penalties."

I certify that all answers on this farm gre correct and true.

Signature of Claimant _% — Yt. CYL

y~ Reminders’ on Page 2. ‘Clatn tastructions}
Subscribed and sworn to before me this a TH. Degett Sawada NTN

4
' Signature of Notary Public : j

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 36 of 37

EXHIBIT “H”

Case 2:19-cv-05546-NIQA Document1 Filed 11/25/19 Page 37 of 37

Jacobs, Randy [PRI-1PP]

From: Syreeta Lawrence <
Sent: Thursday, September 12, 2019 8:41 PM

To: Jacobs, Randy [PR!-1PP]; James Walker Jr.
Subject: Ford Claimant Request

Dear Mr. Randy Jacobs, (representative for Primerica - policy #320075280)

| am requesting that all individual claims be disregarded, Therefore this email confirms that the following names...

* Syreeta Lawrence
e« Shanelle Ford

« Andrew J Ford fll
« Britney Ford

« Drew Smith

and any other names submitted, all be withdrawn from any claim to the policy of my father, Andrew James
Fora, Jr.

| am the legal executor of my father, Andrew James Ford's estate and the representative of my siblings and
family, It is my directive and the unanimous decision of the Ford family that claimant Delores Ford, the true
assignee in regard to the policy #32007528 , be reinstated as the sole beneficiary of the policy, as originally
intended,

Thank You,

Respectfully,

Syreeta (Ford} Lawrence

